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AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT CoURT

for the
Southern District of Texas

HUZA|FA HUSA|N

 

Plaintl_'j'(s)

V~ Civil Action No. 4118-CV-02387

|NTERACT|VE BROKERS, LLC

 

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Defendant(s)
SUMMONS IN A CIVIL ACTION

TO¢ (Defe"danr’s name and address) lNTERAchvE BROKERS LLC
One Pickwick Plaza
Greenwich, Connecticut 06830

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintist attorney,
Whose name and address are: Murtaza F. Sutarwa||a, Esquire

Edwards Sutarwa|la PLLC
1300 McGowen St., Ste 270
Houston, TX 77004

(832) 717-8715
Murtaza@es|awpartners.com

If you fail to respond, judgment by default Will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signamre of Clerk or Depuzy Clerk

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Civil Action No. 4218-CV-02387

PROOF OF SERVICE
( T his section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

ThiS SUmmOIlS fOI` (name of individual and title, if any)

 

was received by me on (date)

|:l I personally served the summons on the individual at @lace)

 

01'1 (date) § 01‘

 

ij I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

ij I SC!'VCd the SUIDIIlOllS OII (name afindividual) , WhO iS

 

designated by law to accept service of process on behalf of (name ofarganization)

 

 

 

OII (date) ; OI'
El I returned the summons unexecuted because ; or
l:l Other (specijj)):
My fees are $ for travel and $ for services, for a total of $ 0_00

I declare under penalty of perjury that this information is true.

Date:

 

Server ’s signature

 

Prl'nted name and title

 

Server ’s address

Additional information regarding attempted service, etc:

